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JULY 26, 2019




SIXTH REPORT OF RECEIVER ALAN TANTLEFF


RE: CERTAIN REAL PROPERTY ASSETS OF
HERMITAGE INN REAL ESTATE HOLDING COMPANY, LLC




                                                      EXPERTS WITH IMPACT"
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   I.      Introduction

          On June 6, 2018 (the “Effective Date”), Judge John R. Treadwell of the Windham Unit of the Vermont
Superior Court signed an order (the “Order”) appointing me, Alan Tantleff of FTI Consulting, as Receiver for certain
properties (collectively, the “Subject Properties”) mortgaged to Berkshire Bank (the “Bank”) by Hermitage Inn Real
Estate Holding Company, LLC (the “Borrower”), its principal (James Barnes) and related entities. The Receiver’s
primary responsibility is to protect and preserve the Bank’s collateral. The following report outlines the actions
that I, the Receiver, have taken to preserve and maintain the value of the Subject Properties.

       On May 22, 2019 (the “Filing Date”), a creditor group filed for involuntary Chapter 7 bankruptcy in
Vermont (the “Chapter 7 Bankruptcy”) against Borrower. Immediately following the Chapter 7 Bankruptcy, the
Borrowers filed a Chapter 11 bankruptcy in the State of Connecticut.

         Prior to the determination of venue in the Bankruptcy, on May 31, 2019 the Bankruptcy Court entered the
Order Granting Emergency Motion Under 11 USC § 303(f) To Keep State Appointed Receiver in Place During the Gap
Period to Preserve and Maintain Estate Assets (the “Bankruptcy Order”). The Bankruptcy Order allowed the
receivership to continue until terminated by the Bankruptcy Court.

         In the period following the Bankruptcy Order, I have operated in virtually the same manner as discussed in
my Previous Reports. The significant difference is that the Subject Properties under the state receivership order
are limited to the real assets of the Borrower mortgaged to Berkshire Bank; the bankruptcy is the entire estate,
including other assets not mortgaged to Berkshire Bank, albeit limited. Immediately after the Bankruptcy Order, I
inspected other properties that are owned by affiliates of HIREHC; however, since as of the writing of this report,
the Debtors have not filed statements and schedules, I have no information on what properties are owned by the
Debtors. Nonetheless, I inspected the airport, 24 West Main Street and a few other miscellaneous properties.

        This is the sixth report that I have prepared for the court during my receivership. My previous reports (the
“Previous Reports”) were submitted to the court on July 6, 2018, August 6, 2018, November 5, 2018, February 5,
2019, and May 6, 2019.

           This report is due August 6, 2019; however, it is being filed early as it may be instructive to the Bankruptcy
Court.




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   II.      Summary of Recent Legal Proceedings

Borrower’s Bankruptcy Proceedings

        In the period following my Previous Reports, there have been several significant legal updates and
proceedings associated with the Receivership and the Subject Properties as previously discussed.

          As stated repeatedly throughout the receivership, I will continue to serve and perform my ordered duties
until directed otherwise by the Court.

Receivership Legal Updates

         A. Break-ins at the Horizon Inn

         As discussed in my Previous Reports in April 2019, I was notified by the Director of Mountain Operations
that the Horizon Inn had been vandalized and copper piping had been removed from the site. I immediately
worked with the Director of Mountain Operations to communicate with the local and state police to investigate
the matter. In response to these actions, I have worked with the Borrower’s Management Team to establish
increased security protocols and procedures at the Subject Properties.

        Unfortunately, I was notified on July 16, 2019 of an additional suspected intrusion to the Horizon Inn and
additional vandalism, albeit minor damage. Photographs of a suspicious vehicle have been provided to law
enforcement.

         Local police also investigated a break-in at the Horizon Inn, which turned out to be two trespassers hiking
in the woods. They do not appear to have caused any damage, and police removed them from the premises.

            Additional security protocols have been established to prevent further damage.

         B. Removal of Property from 24 West Main Street

         I was notified on June 24th that agents of Mr. Barnes had removed equipment from 24 West Main Street.
This property has been used by HIREHC as a showroom/design center for home sales, namely the “upgrades” such
as countertops and appliances. I was told that on this date, Mr. Bullock was reported at the site with workmen
who removed several appliances, including a Sub-Zero refrigerator. When I inspected the premises earlier that
month, I noted that other appliances had been removed.

         I inquired of Mr. Barnes if he was responsible for the removal of this personal property and if he could
explain the ownership structure of 24 West Main Street. I received the following email response:

           Alan,

           The building and its contents have been wholly owned by 24 West Main Street LLC which in turn was wholly
           owned by LCB Investments LLC. LCB Investments LLC is owned by my children and I am the manager. LCB
           Investments agreed to transfer ownership of the building and its contents to AS Realty LLC with a deed in
           lieu in settlement of a loan that was past due. As part of the transaction, AS Realty LLC allowed for LCB to
           retain or dispose any of the contents of the building at will. The business known as Deerfield Valley Design
           was not owned in any way by HIREHCO. It opened briefly in q1 2017 and then shutdown. Deerfield Valley
           Design never had a transaction and was never incorporated. I’m fairly certain there was never a
           formal lease or agreement. HIREHCO made some leasehold improvements as did Ritz-Craft Homes who
           installed their kitchen for marketing display. HC personnel were allowed to take customers there to see
           kitchen items and furniture on display as were other builders in town. This practice ended in 2017. Chad was
           personally authorized by me as manager of LCB Investments LLC to act as agent and dispose of any




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         contents of this building. I hope this clears up any confusion. Please call or email if you have any further
         questions.



         Sincerely,

         James R. Barnes

         Manager

         LCB Investments LLC.



         CC Doug Skalka

         Chad Bullock



         I provided this information and response to counsel for Berkshire Bank, who forwarded it to other
constituents. I have taken no further action.




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  III.     Subject Property Condition Update

         I have visited the Subject Properties on several occasions in the period following my Previous Reports.
While visiting I have met with the Borrower’s management team and inspected the Subject Properties. As
previously mentioned, I have visited other properties owned by affiliates of the Debtor following the bankruptcy
filing.

           The following section covers the condition of the Subject Properties at the time of my most recent site
visit, as well as key repairs and maintenance.

Employees:

         Funds provided by Berkshire Bank are used to fund payroll for 5 employees: Director of Mountain
Operations, Director of Facilities, Golf Course Superintendent, Lift Mechanic and Golf Course Maintenance. These
employees are still employed by HIREHC, but payroll, and benefits (including health care) are funded by the Bank.

Economic Condition of the Borrower:

         As discussed in the Previous Reports, the economic situation has reached a stabilized state. The Subject
Properties have shown significant improvements after I received funding from the Bank. As detailed later in the
report, this funding has allowed for regular maintenance and various repairs which maintain the business viability
and collateral value of the Subject Properties.

        The prior forecasts provided to the court and Berkshire Bank expire in August. I will need to create a new
budget should the Bankruptcy Court continue with the Receivership.

         The Borrower has not paid any of the maintenance or operating expenses during the pendency of the
receivership.

Physical Condition of the Properties:

           Overall, I have been able to preserve the Subject Properties in the “mothballed” state. More specifically:

Golf Course:

        As discussed in my Previous Reports, the golf course was successfully winterized in November 2018 and
the process of de-winterization began in early April 2019. In the weeks following my May 6, 2019 Report, the golf
course was successfully de-winterized and regular summertime maintenance and protection commenced.

         Based upon my personal inspection of the golf course, and communications with the golf course
superintendent and the Borrower’s Management Team, the golf course is currently in great condition without any
key areas of concern. The golf course’s greens, usually the most vulnerable area of the golf course in the winter,
survived the winter without any significant damage, and all other areas of the course have remained in good
condition.

         In summary, the golf course currently is in its best physical shape since my appointment as Receiver on
June 6, 2018. Furthermore, expenditures at the golf course in the period of de-winterization and maintenance has
trended in accordance with the Updated Budget.




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Ski Lifts:

         We conduct preventative maintenance on the ski lifts and have increased the level of maintenance over
the past few months. We maintain the Barnstormer Lift. None of the Barnstormer creditors have paid for any
maintenance; all funds for maintenance and repair come from Berkshire Bank despite the ongoing dispute about
whether it is the Bank’s collateral.

Buildings:

         The various buildings are in good shape. Most of the maintenance budget goes to fund expenses related
to the Borrower’s biggest building, the ski lodge. This requires ongoing service of the mechanical equipment,
including HVAC. The remainder of the buildings received minor repairs; most of them have been drained and
winterized. None have experienced any damage, except the Horizon Inn, which sustained some theft and
vandalism.
        We inspect on a regular basis for mold, leaks, pests, vandalism, fire hazards, and other hazards that can
cause property damage.

             Protocols have been put in place to store and maintain hazardous chemicals.

Business Records:

         “Business Records” were not previously included in the Receivership Order. Rather, the Receiver was only
allowed to secure and preserve non-electronic records on the Subject Properties (i.e., those which were collateral
for Berkshire Bank). Subsequent to the Bankruptcy Order, a number of the business records of HIREHC have been
moved from the airport and Brook Bound to the Hermitage Inn and the Clubhouse for safekeeping. “Business
Records” includes a variety of items that were stored in multiple boxes, binders, folders and file cabinets. These
included:

                 •    Blueprints, plans and specifications

                 •    Employee data

                 •    Membership Lists

                 •    Financial Reports and Tax Returns

                 •    Permits

                 •    Accounts receivable, payables, cancelled checks, bank statements

                 •    Computers and electronic data

             Photographs of the “books and records” as they have been stored are included in the Appendix.




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  IV.      Court-Ordered Responsibilities – FTI Consulting Role

Pay Necessary Bills:

         The Order calls for the Receiver to pay all bills that, if unpaid, could lead to a reduction in the value of the
Subject Properties. FTI Consulting has spent many hours coordinating with vendors and HIREHC management to
determine necessary expenses to preserve the value of the Bank’s collateral in a “mothballed” state. As referenced
in the Previous Reports, I established a formal process for the Borrower to request funding for any essential
expenses, and during our weekly call the Borrower’s submissions are discussed and evaluated.

           A discussion of specific expenditures made by the receivership is provided in Section VI of this report.

Secure the Subject Properties:

          The Order calls for the Receiver to take all reasonably necessary steps with staff sufficient to prevent
theft, vandalism, damage by people, pests, or weather to the Subject Properties. As Receiver, I supervise the
Borrower’s management team’s weekly inspection schedule; the staff delivers a formal property inspection report
at the beginning of each week, and I hold a 11:30AM call each Monday with the Borrower’s management team to
review the week’s agenda pertaining to the preservation of the Bank’s collateral. In the period following the
Previous Reports, the Borrower’s management team has provided me with each weekly report on a timely basis
and consistently ensured that all properties remain secure. I personally inspect the Subject Properties on a regular
basis. In response to recent reports of theft and vandalism, additional security procedures and surveillance has
been established at the Subject Properties.

Maintain the Subject Properties and Business Viability:

         The order calls for the Receiver to only provide reasonably necessary maintenance of the Subject
Properties, and only to preserve the Bank’s collateral in a “mothball” state. The receivership continues to work
with the Borrower’s Director of Finance to ensure that management receives funding for all expenses that are
necessary to maintain the value of the Bank’s collateral.

          As discussed in my Previous Reports, throughout the Receivership the Borrower’s management team has
identified various items in need of repair or replacement. Many of these items were the result of a general lack of
preventive or precautionary maintenance by previous management and were significantly damaged in the period
between March 2018 and the appointment of the receivership. While the majority of necessary repairs were made
in the period prior to my February 5, 2019 report (chiller maintenance, update of the club house fire alarm system,
repair of damaged basement heating coils, HVAC repair, grease trap cleaning, and generator maintenance), I
continue to be attentive to any major issues arising related to previous faults in maintenance and management. To
maintain the business viability and integrity of the Subject Properties, the Receivership has been forced to expend
considerable funds in relation to the aforementioned repairs and tasks.

         As stated in my Previous Reports, in preparation for winter, I worked with the Borrower’s Management
Team to determine the role of each Subject Property and its importance to the well-being and business viability of
the Hermitage Club. Taking this information into account, I made the decision to winterize (drain and not heat)
several of the Subject Properties for the winter season. The Clubhouse, Hermitage Inn, Snow Goose Inn, and
Carriage House were determined to be the Subject Properties which I needed to heat through the winter season.

          Throughout the winter season, the heating and maintenance of the aforementioned Subject Properties,
allowed the Borrower’s Management Team to ensure that the business viability of these key assets is protected. In
the late spring, the Borrower’s Management Team began the process of the de-winterization of the Subject
Properties and the commencement of regular spring and summer repairs and maintenance.




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         In April 2019, Dupuis Lawncare & Plowing, who previously was awarded the plowing contract for the
Subject Properties, was awarded the spring and summer landscaping contract for the Subject Properties. To date,
Dupuis Lawncare & Plowing has maintained the Subject Properties and worked alongside the Borrower’s
Management Team to ensure that the business viability is consistently maintained.

Apply to the Court for Additional Authority:

        The order calls for the receivership to notify the Court if it requires additional authority to secure and
maintain the subject properties. At this time, I do not wish to apply for any additional authority.




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  V.       Employment and Payroll Considerations

         Employees continue to provide services to both the Subject Properties and other real estate assets owned
or controlled by entities affiliated with the Borrower, but not mortgaged to the Bank. For example, there are other
inns and real property that are not collateral for the Berkshire Bank Loans that are serviced by the HIREHC
employees.

        Because I have not been given access to the company or the company’s accounts, I rely on an
arrangement, discussed below, that affords me access to these employees.

Payroll and Employment:

         As discussed in the Previous Reports, I worked out a “deal” with James Barnes regarding payroll for the
remaining four employees. This “deal” was made in a cooperative spirit with the Borrower and was acknowledged
in an email on June 20, 2018. This agreement allowed the Receiver to avoid further layoffs; continues to allow the
Receiver to avail itself of talented, local employees with significant history and institutional knowledge; permits the
Borrower to continue with its restructuring efforts; and reduces the overall costs of the receivership.

          In the period following the “deal” with Mr. Barnes, various changes in personnel have taken place. For
instance, in September it was brought to my attention that the Interim President of HIREHC was relieved of his
duties. In response to these changes, I tasked the Director of Mountain Operations to oversee the remaining staff.
To date, the transition has been seamless. Additionally, to transition to the spring season, I have rehired a
previously furloughed golf course employee to assist in the de-winterization and maintenance golf-course. The lift-
mechanic who was previously retained for the winter season will be retained through the summer and fall to shift
focus to general maintenance at the Subject Properties.

         On a bi-weekly basis, each party funds its portion of the payroll to a third-party payroll provider. The
receivership has met all obligations to date and has ensured that all employee benefit payments have been
funded.

        I continue to reimburse employees who previous participated in HIREHC’s health insurance plan, which
was cancelled for non-payment.

         I recently was made aware that the workers compensation policy under which the employees were
working expired on 7/1/19. The HIREHC Director of Finance has been working to renew the policy and is currently
in process of gathering quotes. At this point in time it is unclear whether the updated policy will have a gap period
from expiration to renewal.




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          VI.      Disbursement and Funding Detail

        Bank Accounts:

                 As referenced in the Previous Reports, the judge’s Order does not allow the Receiver to seize the bank
        accounts of the Borrower. As a result, I established an alternate mechanism to fund protective advances. I have a
        receivership account established at the Bank (the “Receiver Account”) which is funded monthly by the Bank.

        Budget:

                 As detailed in the Previous Reports, at the beginning of the Receivership I provided the Bank with a 13-
        week and 9-month budget estimating the costs of preserving its collateral. It is important to note, that at the time
        of the budget’s creation, there was little clarity into many of the potential repairs and maintenance needed to
        protect the Subject Properties.

                Given the continuation of the Receivership in December 2018 the Bank requested that I prepare a budget
        extension for the period until August 2019 (the “Updated Budget”). The Updated Budget was prepared in January
        2019 and submitted to Berkshire Bank. It is important to note that the Updated Budget does not make any
        assumptions towards the reopening or operations of the Subject Property. All of the expenses contained in the
        budget relate to maintaining the Subject Properties in their current “mothballed” state and ensuring their go-
        forward business viability.

                 Beginning in February 2019, I have operated under the Updated Budget and corresponding funding
        schedule from Berkshire for the periods following the expiration of the original budget. As illustrated by the chart
        provided on Page 10, expenditures have trended well in accordance with the Updated Budget. Prior to the
        Updated Budget, receivership expenditures frequently exceeded amounts forecasted. As the receivership has
        progressed, and my understanding of the needs of the Subject Properties has continually grown, the Updated
        Budget has become an accurate representation of the required funds needed to maintain the Subject Properties
        business viability in a mothballed state.

        Sources & Uses of Receiver Funds:

                 Illustrated in the chart below, to date approximately $1.12M has been funded to the Receiver Account.
        Approximately $1.03M of these funds have been provided by the Bank in accordance with the process outlined the
        Previous Reports. The remaining $85K was received as a result of an insurance claim. To date, the receivership has
        expended approximately $1.02M of the $1.12M, resulting in $0.09M in excess cash.
                                                              Sources & Uses
                                                         (7/1/18 through 7/24/19)
                                 Sources                                                             Uses
Berkshire Bank Funding                              $ 1,030,200.00      Employee Payroll & Benefits                      $ 429,650.50
Insurance Claim                                          85,047.23      Property Repairs & Maintenance                     302,859.23
Other Receipts                                              165.85      Professional Fees                                  273,276.63
                                                                        Employee Expense Reimbursements                     14,657.43
                                                                        Bank Fees                                            1,085.00
Total Sources                                       $ 1,115,413.08     Total Uses                                      $ 1,021,528.79

Net Increase in Cash                                  $ 93,884.29


                The chart below represents the Receiver’s expenses to date in relation to the funding provided by the
        Bank under the previous and Updated Budget. As illustrated in the chart, in Month 9 through Month 13 the




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                receiverships expenses have trended in accordance with the Updated Budget and allowed for great financial
                flexibility.
                                    Month 1      Month 2      Month 3       Month 4      Month 5       Month 6       Month 7       Month 8       Month 9       Month 10     Month 11     Month 12     Month 13     Month 14      Total
Week Ending                         6-Jul-18     3-Aug-18     7-Sep-18      5-Oct-18     2-Nov-18      7-Dec-18      4-Jan-19      8-Feb-19      8-Mar-19      5-Apr-19     3-May-19     7-Jun-19     5-Jul-19     24-Jul-19
Cash Receipts                        $ 80,500     $ 83,400     $ 75,566     $ 154,147     $ 65,500      $ 53,100      $ 52,600      $ 52,600      $ 88,000      $ 88,000     $ 82,000     $ 90,000     $ 77,000      $ 73,000    $ 1,115,413
Operating Disbursements
 Employee Payroll & Benefits          (23,348)     (25,749)     (33,485)      (26,360)     (27,276)      (46,344)      (31,537)      (34,784)      (30,854)      (26,708)     (29,733)     (47,436)     (29,757)      (16,281)     (429,651)
 Property Repairs & Maintenance            -        (8,647)     (21,172)      (11,237)     (24,741)      (43,826)      (20,114)      (46,003)      (48,094)      (26,182)     (16,343)     (11,597)     (11,515)      (13,388)     (302,859)
 Employee Expense Reimbursements           -        (1,000)        (166)          (23)        (594)         (200)       (1,066)       (3,858)       (1,968)         (101)        (237)      (2,755)      (2,144)         (547)      (14,657)
Total Operating Disbursements         (23,348)     (35,396)     (54,823)      (37,621)     (52,611)      (90,370)      (52,716)      (84,645)      (80,916)      (52,991)     (46,313)     (61,789)     (43,415)      (30,216)     (747,167)
Non-Operating Disbursements
 Professional Fees                         -       (35,099)     (34,974)      (17,225)     (17,792)           -        (35,101)      (24,130)      (17,225)      (17,225)     (28,240)     (20,661)     (18,985)       (6,619)     (273,277)
 Bank Fees                                (90)         (45)        (100)         (100)         (60)         (125)          (70)          (70)          (70)         (100)         (60)        (110)         (70)          (15)       (1,085)
Total Non-Operating Disbursements         (90)     (35,144)     (35,074)      (17,325)     (17,852)         (125)      (35,171)      (24,200)      (17,295)      (17,325)     (28,300)     (20,771)     (19,055)       (6,634)     (274,362)
Total Cash Disbursements              (23,438)     (70,539)     (89,897)      (54,946)     (70,463)      (90,495)      (87,888)     (108,845)      (98,211)      (70,316)     (74,613)     (82,560)     (62,470)      (36,850)   (1,021,529)
Net Cash                             $ 57,062     $ 12,861     $ (14,331)    $ 99,201      $ (4,963)    $ (37,395)    $ (35,288)    $ (56,245)    $ (10,211)    $ 17,684      $ 7,387      $ 7,440     $ 14,530      $ 36,150      $ 93,884




                Berkshire Bank Funded Payments:

                         The Bank continues to pay directly for certain utilities and force-placed insurance on the Subject
                Properties, as it was before the receivership. As a result, the Updated Budget does not include expenses that the
                Bank continues to pay and are not paid by the Receiver (such as real estate taxes, water, and electric), generally
                that are senior to the loan.

                The Receiver’s Fees:

                          This report is due exactly eleven months after the effective date of the receivership and one quarter after
                the submission of my Fourth Receiver Report. As mentioned in the Previous Reports, I will be paid in arrears, i.e. a
                bill be prepared after each month. To date, FTI Consulting has been compensated for work performed through
                June 5, 2019. Copies of the invoices submitted since the Previous Reports are included in the appendix of this
                Report.

                                                                                                                   *****

                Respectfully Submitted




                _______________________________________

                Alan Tantleff

                Receiver

                Dated: July 26, 2019




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 VII.      Appendices

                a.    FTI Consulting Invoices – Submitted May 21, 2019 and June 12, 2019
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                                                                                         FTI Consulting, Inc.
                                                                                         227 West Monroe Street
                                                                                         Suite 900
                                                                                         Chicago, IL 60606

                                                                                         800.998.1755 telephone
                                                                                         312.759.8119 facsimile

                                                                                         www.fticonsulting.com




May 21, 2019



Elizabeth Glynn, Esq.
Ryan Smith & Carbine, Ltd.
98 Merchants Row
P.O. Box 310
Rutland, VT 05702-0310


Re: Project Retreat '18
    FTI Job No. 424772.0001
    Invoice # 7512628



Enclosed is our invoice for professional services rendered in connection with the above referenced matter. This
invoice covers professional fees and expenses through May 5, 2019.

Please do not hesitate to call me to discuss this invoice or any other matter.

Sincerely yours,




Alan Tantleff
Senior Managing Director



Enclosures
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Elizabeth Glynn, Esq.                                                                                                                  May 21, 2019
Ryan Smith & Carbine, Ltd.                                                                                                  FTI Invoice No. 7512628
98 Merchants Row                                                                                                           FTI Job No. 424772.0001
P.O. Box 310                                                                                                          Terms: Payment on Presentation
Rutland, VT 05702-0310                                                                                               FEDERAL I.D. NO. XX-XXXXXXX


Re: Project Retreat '18


Current Invoice Period: Charges Posted through May 5, 2019
____________________________________________________________________________________________________

Professional Services.......................................................................................                            $12,587.50

Adjustment to Agreed Fee...............................................................................                                  $3,662.50

Net Professional Fees......................................................................................                             $16,250.00

Expenses..........................................................................................................                         $975.00

Total Amount Due this Period........................................................................                                    $17,225.00

Total Amount Due........................................................................................                                $17,225.00



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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  EFTI    CONSULTING
                                                                                     Invoice Summary

Elizabeth Glynn, Esq.                                                                          May 21, 2019
Ryan Smith & Carbine, Ltd.                                                           FTI Invoice No.7512628
98 Merchants Row                                                                   FTI Job No. 424772.0001
P.O. Box 310                                                                   Terms Payment on Presentation
Rutland, VT 05702-0310                                                        FEDERAL I.D. NO. XX-XXXXXXX


Re: Project Retreat '18


Current Invoice Period: Charges Posted through May 5, 2019
____________________________________________________________________________________________________

     Name                               Title                         Rate        Hours           Total

     Alan Tantleff                      Senior Managing Director      $1,050.00     5.5        $5,775.00
     Michael Galardi                    Senior Consultant              $545.00     12.5        $6,812.50

     Total Hours and Fees                                                          18.0       $12,587.50



     Less Voluntary Reduction                                                                  $3,662.50
     ____________________________________________________________________________________________
     Total Net Fees                                                                           $16,250.00

     Administrative Fee (6%)                                                                    $975.00

     Total Expenses                                                                             $975.00



     Invoice Total for Current Period                                                         $17,225.00
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  EFTI   CONSULTING


                                                                                                    Invoice Activity
____________________________________________________________________________________________________


PROFESSIONAL SERVICES
Alan Tantleff
        04/08/19      Deal with theft                                                               0.50      $525.00
        04/11/19      Payroll, coordinate with J. Barnes on locker, emails from Chad,               1.00     $1,050.00
                      follow up from meeting
        04/15/19      Theft, call with A.Sherritt                                                   0.50      $525.00
        04/22/19      Weekly call, update on issues                                                 0.75      $787.50
        04/24/19      Call with counsel                                                             0.50      $525.00
        04/29/19      Weekly call, update on issues                                                 1.00     $1,050.00
        05/02/19      Draft quarterly report                                                        0.25      $262.50
        05/03/19      Quarterly report                                                              1.00     $1,050.00
                                                         $1,050.00 per hour x total hrs of          5.50     $5,775.00

Michael Galardi
        04/08/19      Correspond with Property Management re: updates.                              0.50         $272.50
        04/09/19      Correspond with property management re: updates.                              0.50         $272.50
        04/10/19      Correspond with team and paycomm re: payroll.                                 1.00         $545.00
        04/11/19      Fund outstanding invoices and update cash disbursement analysis               1.00         $545.00
                      & budget.
        04/11/19      Fund employee payroll and correspond re: same.                                0.25         $136.25
        04/15/19      Pay invoices and update cash analysis.                                        0.25         $136.25
        04/15/19      Correspond with Property Management.                                          0.25         $136.25
        04/16/19      Correspond with Berkshire Bank, Dimmick, and Property                         0.75         $408.75
                      Management re: invoices.
        04/17/19      Cash management with Berkshire Bank accounts.                                 0.50      $272.50
        04/18/19      Correspond with Property Management.                                          0.25      $136.25
        04/18/19      Correspond with Dimmick re: checks.                                           0.25      $136.25
        04/22/19      Weekly call with management.                                                  0.50      $272.50
        04/25/19      Call with Berkshire Counsel.                                                  0.50      $272.50
        04/25/19      Update cash disbursement and budget analysis.                                 0.50      $272.50
        04/25/19      Prepare Fifth Receiver Report.                                                0.50      $272.50
        04/25/19      Correspond re: payroll and process.                                           0.50      $272.50
        04/25/19      Pay outstanding invoices.                                                     0.50      $272.50
        04/29/19      Weekly Call with Management.                                                  0.50      $272.50
        04/30/19      Prepare Receiver Report.                                                      0.50      $272.50
        04/30/19      Pay invoices and update cash analysis.                                        0.50      $272.50
        05/01/19      Prepare Fifth Receiver Report.                                                0.25      $136.25
        05/01/19      Pay Invoices / Cash Management.                                               0.25      $136.25
        05/01/19      Correspond with Property Management.                                          0.25      $136.25
        05/03/19      Prepare Fifth Receiver Report.                                                1.75      $953.75
                                                          $545.00 per hour x total hrs of          12.50     $6,812.50




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                                                                                  Invoice Activity
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EXPENSES

Admin
         05/05/19   Administrative Expense                                                    $975.00
                                                                                 Total        $975.00




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                                                                                         FTI Consulting, Inc.
                                                                                         227 West Monroe Street
                                                                                         Suite 900
                                                                                         Chicago, IL 60606

                                                                                         800.998.1755 telephone
                                                                                         312.759.8119 facsimile

                                                                                         www.fticonsulting.com




June 12, 2019



Elizabeth Glynn, Esq.
Ryan Smith & Carbine, Ltd.
98 Merchants Row
P.O. Box 310
Rutland, VT 05702-0310


Re: Project Retreat '18
    FTI Job No. 424772.0001
    Invoice # 7514732



Enclosed is our invoice for professional services rendered in connection with the above referenced matter. This
invoice covers professional fees and expenses through June 5, 2019.

Please do not hesitate to call me to discuss this invoice or any other matter.

Sincerely yours,




Alan Tantleff
Senior Managing Director



Enclosures
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                                                                                                                          Invoice Remittance

Elizabeth Glynn, Esq.                                                                                                                  June 12, 2019
Ryan Smith & Carbine, Ltd.                                                                                                  FTI Invoice No. 7514732
98 Merchants Row                                                                                                           FTI Job No. 424772.0001
P.O. Box 310                                                                                                          Terms: Payment on Presentation
Rutland, VT 05702-0310                                                                                               FEDERAL I.D. NO. XX-XXXXXXX


Re: Project Retreat '18


Current Invoice Period: Charges Posted through June 5, 2019
____________________________________________________________________________________________________

Professional Services.......................................................................................                            $32,752.50

Adjustment to Agreed Fee...............................................................................                               ($16,502.50)

Net Professional Fees......................................................................................                             $16,250.00

Expenses..........................................................................................................                       $2,735.27

Total Amount Due this Period........................................................................                                    $18,985.27

Total Amount Due........................................................................................                                $18,985.27



Please Remit Payment To: FTI Consulting, Inc.
                         P.O. Box 418178
                         Boston, MA 02241-8178

Wire Payment To: Bank of America, NA                                                  ACH Payments To: Bank of America, NA
103West 33rd Street, New York, NY 10001                                               1455 Market Street, San Francisco, CA 94109
Account #: 003939577164                                                               Account #: 003939577164
ABA #: 026009593                                                                      ABA #: 052001633
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  EFTI    CONSULTING
                                                                                     Invoice Summary

Elizabeth Glynn, Esq.                                                                          June 12, 2019
Ryan Smith & Carbine, Ltd.                                                          FTI Invoice No. 7514732
98 Merchants Row                                                                   FTI Job No. 424772.0001
P.O. Box 310                                                                   Terms Payment on Presentation
Rutland, VT 05702-0310                                                        FEDERAL I.D. NO. XX-XXXXXXX


Re: Project Retreat '18


Current Invoice Period: Charges Posted through June 5, 2019
____________________________________________________________________________________________________

     Name                               Title                         Rate        Hours           Total

     Alan Tantleff                      Senior Managing Director      $1,050.00    24.0       $25,200.00
     Michael Galardi                    Senior Consultant              $545.00     13.5        $7,357.50
     Nicole Loffredo                    Intern                         $195.00      1.0         $195.00

     Total Hours and Fees                                                          38.5       $32,752.50



     Adjustment to Agreed Fee                                                               ($16,502.50)
     ____________________________________________________________________________________________
     Total Net Fees                                                                           $16,250.00

     Administrative Fee (6%)                                                                    $975.00
     Business Meals                                                                             $115.91
     Lodging                                                                                    $563.06
     Transportation                                                                            $1,081.30

     Total Expenses                                                                            $2,735.27



     Invoice Total for Current Period                                                         $18,985.27
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                                                                                                    Invoice Activity
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PROFESSIONAL SERVICES
Alan Tantleff
        05/06/19      Weekly call, update on issues, quarterly report                               1.50     $1,575.00
        05/08/19      Lawsuit filed, respond                                                        0.25      $262.50
        05/09/19      Response to press, questions from L. Buccossi, invoices                       0.25      $262.50
        05/10/19      Lawsuit, email on service, response from E. Glynn                             0.75      $787.50
        05/14/19      Invoices, approval of various open items and issues, weekly call,             2.00     $2,100.00
                      call with counsel
        05/15/19      Invoices, open items                                                          0.25      $262.50
        05/21/19      Follow up on tour issues, invoices                                            0.75      $787.50
        05/23/19      Chap 7 issues, call with counsel, A. Sherritt                                 0.75      $787.50
        05/24/19      Chap 7 issues, coordinate hearing, prep for hearing                           1.25     $1,312.50
        05/28/19      Prep for hearing                                                              0.50      $525.00
        05/29/19      Travel to BTV                                                                 6.00     $6,300.00
        05/29/19      Prep for hearing                                                              1.50     $1,575.00
        05/30/19      Hearing                                                                       1.00     $1,050.00
        05/30/19      Prep for hearing                                                              1.00     $1,050.00
        05/30/19      Travel from BTV                                                               4.00     $4,200.00
        05/31/19      Follow up questions                                                           0.50      $525.00
        06/04/19      Misc bk issues                                                                1.00     $1,050.00
        06/05/19      Misc bankruptcy issues, review filings, organize agenda, payroll              0.75      $787.50
                                                         $1,050.00 per hour x total hrs of         24.00    $25,200.00

Michael Galardi
        05/06/19      Edit Receiver Report and correspond with Counsel re: same.                    1.00         $545.00
        05/06/19      Update cash disbursement analysis.                                            0.25         $136.25
        05/06/19      Weekly call with management.                                                  0.50         $272.50
        05/07/19      Correspond with Property Management.                                          0.50         $272.50
        05/08/19      Review update re: Brook Bound Properties.                                     0.25         $136.25
        05/08/19      Process invoices and payroll.                                                 0.50         $272.50
        05/10/19      Correspond with Property Management re: outstanding payments.                 0.50         $272.50
        05/10/19      Correspond with Property Management re: Fifth Receiver Report.                0.25         $136.25
        05/13/19      Correspond with Property Management.                                          0.50         $272.50
        05/14/19      Correspond with team re: potential site visit.                                0.25         $136.25
        05/14/19      Review updates re: property maintenance and status conference.                0.50         $272.50
        05/14/19      Participate in call with Vermont Counsel.                                     0.50         $272.50
        05/15/19      Correspond re: upcoming site visit.                                           0.50         $272.50
        05/15/19      Pay invoices & update cash analysis.                                          0.50         $272.50
        05/22/19      Correspond with Property Management.                                          0.50         $272.50
        05/22/19      Fund payroll and update cash analysis.                                        0.50         $272.50
        05/23/19      Correspond with AT & Counsel & Property Management re:                        1.00         $545.00
                      updates.
        05/24/19      Correspond with management re: invoices and outstanding                       0.75         $408.75
                      projects.
        05/24/19      Correspond with Counsel and review materials re: Ch7 Filing.                  1.00      $545.00
        05/25/19      Review updates and materials re: Ch7 Hearing.                                 1.25      $681.25
        05/28/19      Weekly call with Management.                                                  0.50      $272.50
        05/28/19      Prepare materials for Ch7 Hearing.                                            1.00      $545.00
        05/28/19      Update cash and budgeting analysis.                                           0.50      $272.50
                                                          $545.00 per hour x total hrs of          13.50     $7,357.50

Nicole Loffredo
        06/04/19      Research for expert report.                                                   1.00         $195.00
                                                          $195.00 per hour x total hrs of           1.00         $195.00


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                                                                                                                 Invoice Activity
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EXPENSES

Admin
          06/05/19   Administrative Expense                                                                                $975.00
                                                                                                               Total       $975.00

Business Meals
          05/29/19   Meals - Travel Related - Michael Galardi. Coffee and lunch while traveling for Hermitage Ch7           $11.63
                     Hearing.
          05/29/19   Meals - Travel Related - Alan Tantleff, Michael Galardi. Snacks during Hermitage client                $11.39
                     meeting
          05/29/19   Meals - Travel Related - Alan Tantleff, Michael Galardi. Dinner during Hermitage meeting               $65.67
          05/30/19   Hotel - Meals - Travel Related - Alan Tantleff. Food and beverage at hotel during Hermitage            $23.97
                     client meeting
          05/30/19   Meals - Travel Related - Alan Tantleff. Water during Hermitage client meeting                           $3.25
                                                                                                              Total        $115.91

Lodging
          05/29/19   Lodging - Michael Galardi 05/30/2019 - 05/31/2019. Hotel in Burlington, VT for Hermitage              $269.11
                     Hearing
          05/30/19   Lodging - Alan Tantleff 05/29/2019 - 05/30/2019. Hotel during Hermitage meeting                       $259.00
          05/30/19   Lodging - Alan Tantleff 05/29/2019 - 05/30/2019. Sales, occupancy, city, state tax                     $29.95
          05/30/19   Tips - (N-A), Alan Tantleff. Cash tips to hotel staff during Hermitage meeting                          $5.00
                                                                                                           Total           $563.06

Transportation
          05/28/19   Airfare - Coach/Economy, Michael Galardi, JFK - BTV, 05/30/2019 - 05/31/2019. Flights to              $399.44
                     and from Burlington, VT for Hermitage Hearing
          05/28/19   Travel Agent Fees - Michael Galardi. BCD Travel Fee                                                    $12.50
          05/29/19   Taxi - Michael Galardi, 3 Times Square - JFK. Uber from office to JFK                                 $100.17
          05/29/19   Taxi - Michael Galardi, BVT - Burlington VT. Uber from Burlington Airport to Hotel                     $12.82
          05/29/19   Taxi - Alan Tantleff, Pleasantville, NY - Metro North Station. Taxi from home to train station         $15.00
                     with luggage for travel to Vermont for Hermitage
          05/29/19   Taxi - Alan Tantleff, Times Square - JFK. Taxi from office to JFK airport for flight to                $72.09
                     Vermont for Hermitage meeting
          05/29/19   Airfare - Coach/Economy, Alan Tantleff, JFK - BTV, 05/29/2019 - 05/30/2019. Flight to                 $291.24
                     Vermont for Hermitage meeting. Flight back to NYC after meeting.
          05/29/19   Travel Agent Fees - Alan Tantleff. BCD fee for flight to Vermont for Hermitage meeting.                $12.50
                     Flight back to NYC after meeting.
          05/29/19   Taxi - Alan Tantleff, Airport - Hotel. Taxi from airport to hotel during Hermitage meeting             $23.00
          05/30/19   Taxi - Alan Tantleff, Hermitage - Airport. Taxi from client meeting to Vermont airport                 $18.86
          05/30/19   Taxi - Alan Tantleff, LGA - Times Square. Taxi from LGA airport to office after Hermitage              $63.56
                     client meeting
          05/30/19   Taxi - Michael Galardi, LGA - Home - 389 6th Ave. Uber home from LGA after Hermitage                   $60.12
                     Travel.
                                                                                                                Total    $1,081.30




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Sixth Report of Receiver Alan Tantleff
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                                                                                    CONSULTING



                b. Berkshire Bank Statement – June 30, 2019
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           BERK
            ------1-T
                   -11 BANK                                            Statement of Account
            America's Most Exciting Bank                               Last statement: May 31, 2019
             P.O. Box 1308, Pittsfield, MA 01202                       This statement: June 30, 2019
                                                                       Total days in statement period: 30

                                                                                         Page 1 of 2

                                                                       Direct inquiries to:
                                                                       800-773-5601         OR
                                                                       BERKSHIREBANK.COM
               FTI CONSULTING INC
               ALAN TANTLEFF, AS RECEIVER                              Berkshire Bank
               3 TIME SQ                                               PO Box 1308
               NEW YORK NY 10036-6564                                  Pittsfield, MA 01202-1308




                                                                                                                0

 Summary of Account Balance

 Account                                                    Number                                Ending Balance

 Business Checking 500                                                                                 $97,773.17



 Business Checking 500


Date       Description                               Additions        Subtractions                           Balance
05-31 Beginning balance                                                                                 $65,364.42
06-04 #ACH Debit                                                         -25.00                          65,339.42
            BERK CLIENT BILL BEB FEES 190604
06-04 #ACH Debit                                                        -132.68                          65,206.74
            SUBURBAN HEATING BILL PAYMT 051400503838444
06-04 #ACH Debit                                                        -189.52                          65,017.22
            SUBURBAN HEATING BILL PAYMT 051400503838448
06-04 #ACH Debit                                                        -323.41                          64,693.81
            SUBURBAN HEATING BILL PAYMT 051400503838447
06-04 #ACH Debit                                                        -452.62                          64,241.19
            SUBURBAN HEATING BILL PAYMT 051400503838446
06-04 #ACH Debit                                                      -6,033.17                          58,208.02
            SUBURBAN HEATING BILL PAYMT 051400503838445
06-06 #Wire Transfer-Out                                             -14,988.95                          43,219.07
            OUTGOING WIRE BNF PAYCOM PAYROLLLLC;REF ;WIRE/OUT
            - 20191570057100
06-06 #Direct S/C - Fee                                                  -15.00                          43,204.07
            DOMESTIC WIRE OUT
06-11 Check 140                                                         -125.00                          43,079.07
06-11 Check 137                                                         -815.00                          42,264.07
06-11 Check 136                                                       -1,253.97                          41,010.10
06-12 Check 139                                                       -3,551.00                          37,459.10
06-13 #Deposit                                     77,000.00                                            114,459.10
            TLR 104 BR 6120 HERMITAGE
06-19      Check 141                                                    -209.85                         114,249.25
06-19      Check 144                                                    -820.00                         113,429.25
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                                        IMPORTANT INFORMATION REGARDING THIS STATEMENT
 PLEASE EXAMINE THIS STATEMENT AND ANY ENCLOSUHES AT ONuE. This statement                    be considered correct unless we are notified
 otherwise within 30 days from receipt of this statement.
 NOTIFICATION OF CONSUMER CREDIT REPORT INACCURACY. The following is the address to which a consumer may write to notify the
 Bank of a dispute in completeness or accuracy of information reported by the Bank to a consumer credit reporting agency. Please include all
 details regarding the specific inaccuracy.                           Berkshire Bank
                                                                     berviang ept.
                                                                       PQ B
                                                               Pittsfield, MAA01202-1308

  WHAT TO DIO IF YOU THINK YOU FIND A MISTAKE ON           yotLPyina9mpAypnvoN.
  If you think there is an error on your statement or it you wou ike to request in ormation regarding your account, write to us at:
  Berkshire Bank
  Loan Servicing Department
  po Qox 13108
  Pittstield, MA 01202
  In your letter, give us the following information:
                          • AcQount information: Your name and account number.
                          • Dollar amount: The dollar amount ot the suspected error.
                          • Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
  You must contact us within 60 days after the error appeared on your statement. You must notify us of any potential errors in writing.
  You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.
  While we investigate whether or not there has been an error, the following are true:
                          • We cannot try to collect the amount in question, or report you as delinquent on that amount.
                          • The charge in question may remain on your statement, and we may continue to charge you interest on that amount.
                             But, if we determine that we made a mistake, you will not have to pay the amount in question or any interest or
                            Aother fees related to that amount.
                          • VVhile you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                          • We can apply any unpaid amount against your credit limit.
  COMPUTATION OF AVERAGE DAILY BALANCE AND INTEREST CHARGE, We figure the interest charge on your account by applying the periodic rate
  to the "average daily balance" of your account. To get the "average daily balance" we take the beginning balance of your account each day, add any
  new advances, and subtract any payments or credits. This gives us the daily balance. Then, we add up all the daily balances for the billing cycle
  and divide the total number of days in the billing cycle. This gives us the "averse daily balance".
                                       ERROR RESOLUTION NOTICE — CON$ jMER ACCOUNTS ONLY
 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFEKS. Telephone us toll-tree in MA at 1-800-773-5601 or write us at
 BERKSHIRE BANK ATTN: ELECTRONIC BANKING., P.O. BOX 1308, PITTSFIELD MA 01202-1308, as soon as you can, if you think your statement or
 receipt is wrong or if you need more information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you
 this FIRST statement on which the error or problem appeared.
                          • Tell us your name and account number (if any).
                          • Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an
                            error or why you need more information.
                          • Tell us the dollar amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your
  account for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.
                                                              TO BALANCE YOUR ACC:lUNT
   OUTSTANDING DRAFTS
                                      1. Deduct from your checkbook balance             6.   Enter here the current balance as
NO.                 AMOUNT               any service charge or other charge                  shown by bank statement
                                         originated by us.

                                                                                        7.   Enter here all deposits made not
                                      2.   If this is an interest bearing account,
                                                                                             shown on bank statement
                                           add interest posted on this statement
                                           to your checkbook balance.

                                      3. Place a mark in your checkbook next            8. Add amount in "step 6" to amount
                                          to each paid check.                               in "step 7" and enter total here


                                      4. List in the "outstanding drafts" section
                                           at left any drafts issued by you and         9.   Enter total amount of outstanding
                                           not yet paid by us.                               drafts


                                      5. Add to your checkbook Reddi-Cash               10. Subtract amount in "step 9" from
                                          deposits identified as "LOC LOAN" in              amount in "step 8" and enter result
Total
Enter in                                  the checking account portion of the                (balance in "step 10" should agree
Step 9                                     statement.                                        with your check book balance)

                                                         Cr          Member FDIC
                                                         mon
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                                                                                                         FTI CONSULTING INC


Date     Description                                      Additions               Subtractions                           Balance
06-19 #Wire Transfer-Out                                                         -14,843.70                        98,585.55
          OUTGOING WIRE BNF PAYCOM PAYROLLLLC;REF ;WIRE/OUT
          - 20191700112400
06-19 #Direct S/C - Fee                                                              -15.00                        98,570.55
          DOMESTIC WIRE OUT
06-21    Check 138                                                                   -185.34                      98,385.21
06-21    Check 143                                                                   -302.04                      98,083.17
06-21    Check 142                                                                   -310.00                      97,773.17
06-30    Ending totals                                 77,000.00                - 44,591.25                     $97,773.17

CHECKS
Number                          Date                          Amount   Number                    Date                    Amount
136                             06-11                      1,253.97    141                       06-19                   209.85
137                             06-11                        815.00    142                       06-21                   310.00
138                             06-21                        185.34    143                       06-21                   302.04
139                             06-12                      3,551.00    144                       06-19                   820.00
140                             06-11                        125.00
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Sixth Report
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